Case 4:22-cv-11009-FKB-DRG ECF No. 157-4, PageID.4956 Filed 06/20/25 Page 1 of 3




                   EXHIBIT 3
Case 4:22-cv-11009-FKB-DRG ECF No. 157-4, PageID.4957 Filed 06/20/25 Page 2 of 3


   From:          James Allen
   To:            Daniel D. Quick
   Cc:            Peter Doyle
   Subject:       FW: invoice
   Date:          Friday, March 21, 2025 1:14:24 PM
   Attachments:   james allen invoice 032125.pdf




  Attached is Alan Elliott’s invoice. Please advise of any issues. Otherwise, I will assume
  you will render payment.
Case 4:22-cv-11009-FKB-DRG ECF No. 157-4, PageID.4958 Filed 06/20/25 Page 3 of 3

                                                                                  alan elliott
                                                                     al’s records and tapes
                                                                 1633 north stanley avenue
                                                                    los angeles, ca 90046
                                                                              323.988.9692
                                                                        e-mail: alan@alanelliott.net




 Invoice
 3.21.25

 ATTENTION:
 Attention: Daniel D. Quick
 Dickinson Wright
 2600 West Big Beaver
 Suite 300
 Troy, MI 48084-3312
 Date: 3/21/25

 Project Title: Estate of George Bernard Worrell, Jr. vs. THANG, INC., George
 Clinton, etc.
 Project Description: Expert Witness Deposition
 Invoice Number: 2025.03
 Terms: Upon Receipt


   Description                                  Quantity   Unit Price         Cost

   Deposition (03/2025)                                3      $ 1000         $1000



                                                                Total       $3,000
